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                  Case 2:17-cv-07121-CAS-AS Document 1 Filed 09/27/17 Page 1 of 34 Page ID #:1

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                                                         UNITED STATES DISTRICT COURT
                                                        CENTRAL DISTRICT OF CALIFORNIA

                                                                              CASE NUMBER                                            1
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                                                                                               be supplied bX the Clerk
                                                                                                                        ~            J
                                                                 PLAINTIFF,
                                                                                        CIVIL RIGHTS COMPL~IINT
                                                                                            PURSUANT TO (Check ones
                                                             DEFENDANT(S).
                                                                              ~ 42 U.S.C. § 1983
                                                                                Bivens v. Six Unknown Agents 403 U.S. 388(197])

          A. PREVIOUS LAWSUITS

              ]. Have you brought any other lawsuits in a federal court while a prisoner: JB~Yes      ❑ No             '

              2. Ifyour answer to "1." is yes, how many?                 ~,

                   Describe the lawsuit in the space below. (Ifthere is more than one lawsuit, describe the additional lawsuits on an
                   attached piece of paper using the same outline.)                  _

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                                                               CIVIL RIGHTS COMPLAINT
       CV-66 (7/97)                                                                                                         Page I of6
               Case 2:17-cv-07121-CAS-AS Document 1 Filed 09/27/17 Page 2 of 34 Page ID #:2
9       'p




                    a. Parties to this previous lawsuit: ,,o
                       Plaintiff ~~~v i~ci~r~"[~


                       Defendants ~v                  ~.~J~~x~-                     - c~~-- ~        _~-;A.-v~ ~ _


                                    :-~       "~.~~~,~~     i~.            ~:_...         _car      '~ _              ~; `         _+_



                   c. Docket or case number 'L~ ~ ~r,+~~ ~                 ~+.~ ~C.~L~                            ~ ~c~-'~~w~~
                                                                                                                       tr
                   d. Name ofjudge to whom case was assigned              ~- ~~j..L
                   e. Disposition (For example: Was the case dismissed? If so, what was the basis for dismissal? Was it
                       appealed? Is it stil] pending?)~.t~ ~~ ~-~~                   ~v~~e~~

                   f. Issues raised: ~~ 2~4;~sa,~          ~ ~~             ASS r~ bc~~~~ ~c~c~ ~a~`~




                   g. Approximate date offi]ing lawsuit: ~,~ ~sr~                        ~Q.~~,1 ~               Cuer~o~.~~c,~:~~
                                                                               i~                                      a
                   h. Approximate date ofdisposition


      B. EXHAUSTION OF ADMINISTRATIVE REMEDIES

              ]. Is there a grievance procedure available at the institution where the events relating to your current complaint
                 occurred? ~ Yes ❑ No

             2. Have you filed a grievance concerning the facts relating to your current complaint? 1~[ Yes            ❑ NQ.

                 If your answer is no, explain why_not




                                                             a~
             3. Is the grievance procedure completed?       Yes ~ No

                 If yo~rr answer is no, explain why not V~`C (o~C~e-~1r .- ~ ~y t,J~s-~ .~r ~~rc~c.~ ~u \l~lr,~,3~m~~
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                7t~.a~Uo~ ~~~
             4. Please attach copies of papers related to the grievance procedure.

    C. JURISDICTION

         This comgfaint alleges that the civil rights of plaintiff ~~~ ~~~-~~~~r~ 1P~~
                                                                                            (print.plaintiFfs name)

         who presently resides at
                                                                 (mailing ad ress or p ace o con inement)

         were violated by the actions ofthe defendants) named below, which actions were directed against.plaintiff at
         / ~          _    f~         i ~ ~s ~ _ ~ rte.► ra _ ~ t _ n      , ~' 1     _ ~ n ~       ~ cD n f ~n ~2.,..,.~



                                                          CIVIL RIGHTS COMPLAINT
    CV-66 (7/97)                                                                                                               Pagz 2 of 6
        Case 2:17-cv-07121-CAS-AS Document 1 Filed 09/27/17 Page 3 of 34 Page ID #:3




        on (date or dates) ~~Ci.~ ~~~~ - ,
                                              (dim I)                        ( aim I                               ( aim 11I)   .

        NOTE:          You need not name more than one defendant or allege more than one claim. If you are naming more than
                       five(5)defendants, make a copy ~fthis page to provide the information for additional defendants.

        ]. . Defendant V                           ~'~ ~ a~`~ i~rta~sk~~ ~~'                           ~°~-             resi-des or works at
                          (ful name offirst de endant)                                             ~           ~          _


                          (fu[f address of first defendant)




               The defendant is sued in his/her (Check one or both): ❑individual               J~officia] capacity.

               Explain how this defendant was acting under color of law:
                  ~       r         1                               !                          I       ~f i♦                        ~   ~~




       2. Defendant           ~                                 ~                                                       resides or works at
                                   n    e o ~rst de en ant)

                           wvJ"~ ~ ~~ti~a-t v~C ~i9~ IY-~:.~tix-s't)._ C~ - ~~C~~~
                          (Full address of Frst defendant)




           The defendant is sued in his/her (Check one or both):                 individual   ,~.o~cial capacity

           Explain how this defendant was acting under color of law:


                                        A.-

                                                                    C~~.                                               resides or wor[cs at
      3. Defendant


                                  address of first defendant)




          The defendant is sued in his/her (Check one or both): ~lindividual                       official capacity

          Explain how this defendant was acting under color of law:




                                                                CIVIL RIGHTS C~NIPLAINT
CV-66 (7/97)                                                                                                                            Page 3 of 6
             Case 2:17-cv-07121-CAS-AS Document 1 Filed 09/27/17 Page 4 of 34 Page ID #:4
o       .o                                                                       ,




             4. .Defendant                                                                                                     resides or works at
                                   (full name of tirs.t aetenaant)


                                  (full address of first defendanU


                                   (defendanPs posirion an at e, i any)


                   The defendant is sued in his/her(Check one or both}: l5~individual                      ~o~cial capacity.

                   Exp]ain how.this defendant was acting under color of law:
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             S. Defendant                   ~                                                                                 resides or works at
                                 (fait name offirst defendanU


                                 (full address of first defendant)


                                 (detendanYs pos~non and title, i any)


               The defendant is sued in his/her(Check one or both): ❑individual                        D official capacity.

               Explain how this defendant was acting under color of law: '




                                                                     C(~'IL RIGHTS COMPLAINT
    CV-66 (7/97)                                                                                                                           Page 4 of6
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    D. CLAIMSx
                                                             CLAIM I
        The following civil right has been violated:




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                                           e_•           j~1+~-   cJ~—~          ~J4LNl~l~        LB~sA.~t2~`   1J-~cs~~C"~ OT


          ~D
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       Supporting Facts: Include all facts you consider important. State the facts clearly, in your own words, and without
      citing legal authority or argument. Be certain you describe, in separately numbered paragraphs, exactly what each
      DEFENDANT (by name) did to violate yt~~1~~
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     ;                                                        S ~C~tS ~`~ ~D~l~~s~~~                   -..LC ~iw~'~dt4a~~-V




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                                                  CIVIL RIGHTS COMPLAINT
CV-66 (7197)                                                                                                       Page 5 of 6
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    E. REQUEST FOR RELIEF

        I believe that I am entitled to the following specific relief:




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                  (Date)
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CV-66 (7/97)                                                                                             Page 6 of 6
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                             Case 2:17-cv-07121-CAS-AS Document 1 Filed 09/27/17 Page 8 of 34 Page ID #:8
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               ~.                                                                                                                                                          INMATE:           Murray, John
         DATE /    ~ €~SL~ED: 5/3/2017 11:50.47                                                  STAFF : Fleck                                            J
         DATE!~ ~,~~ f~EGtNED :514!2017 04:30;38                                                 STAFF: Laguna                                          /~~                BOOKING NO.:      1982042
                                                                                                                                                                           HOUSING LOCATION: MJ-4-F -4 -06
                                                                                                                                                                           DATE:             5I3f2fl97 91:51:22
                                                                                                                                                                           GRIEVANCE NO.:   61116


                                                      INMATE GRIEVANCE RESOLUTfON FORM
      RESOLUTION:
      two-. ~~r~y,
      1 f~ave received your grievance and reviewed your medical record. We are sorry to hear of your seizure and resutfiing
      fall from the top bunk, and hope that you are recovering wail. Mr. urcay in the future if you encounter this issue,
      ptease submit a blue kite asap sa tha#'you can be seen by a, provider and have all necessary'MTO's in place,[n a jail of;
      this.size, the best practice is to place all requests for medical care in wrifing as opposed to relying on verbal
      reques#s,jrast as yc~u have d$ne in the past: Ur~farEunarE~iy medieai staff i~ not allowed to rovide prirrted paperwork
     -generated from custody's~dafatrase~ to currently incarcerated inmates. Upon release, you may reyuesf a copy of aFi
      medical records for $15. We de hope that you begin to feel beater, and encourage you to continue communicating with
      medical staff in writing should you need any additional assistance.

     Thanks


     NOTE:                   ~Y°u are dissatisfied with S►e grievance resolution, you may appeal tfie resolution by cornpfeffag the appeal secfion beloay.

                             Attach prior grievance forms(s} and direct to Nte nexf highest leas(.


          ❑ '!. NallSdt+l~ OFFl~ER                                                                                                           S~R:Al.. MO.                                                   DATE

          ❑ 2. LEVEL Sl1PERVISQR                                                                                                             SERIAL NO.                                                     DATE

          O 3. MEDICAL SUPERVISaR                                                      James                                                 SERIAL NO. FP #5                                               DATE Q5/08l2097 09:50:26

          ❑ 4. MEDICAL MANAGER                                                                                                               SERIAi. NO.                                                    DATE

          ❑ 5. GUSTO~Y C~~IMAI~1~Et~                                                                                                        SERIAL !~C?.                                                    I?A7E

      BRIEFLY STATE YOUR GRIEVANCE RESOLUTION APPEAL:
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      d                                                                                                                INMATE GRIEVANCE FORM                                                                                                                                       '~                z
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      !•
       `tf, while in the Ventura County Jail system, you have a complaint regarding your CUSTODY TREATMENT, MEDICAL TREATMENT, or
      }other related CUSTODY PROBLEMS, you may complete the following INMATE GRfEVAfVCE FORM. Every attempt wiii be made to re-
       so[ve your grievance at the first level; however, it may be necessary to bring your grievance to higher levels for resolution.

                                                                      Grievances maybe ~/ed in all matters EXCEPT decisions handed down by the court.

          BRIEFLY STATE YOUR GRfEVANCE: I ~~,~a~,~,.~,:~,                                                                                                - , ~~a.~                  '~'               ~~                                           _             have the following grievance
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     ~If, while in the Ventura County Jail system, you have a complaint regarding your CUSTODY TREATMENT, MEDICAL TREATMENT, or
     Eother related CUSTODY PROBLEMS, you may complete the following INMATE GRIEVA[JCE FORM. Every attempt will be made to re-
      soive your grievance at the'first level; however, it may be necessary to bring your grievance to higher teve(s for resolution.

                                                          Grievances maybe filed in al! matters EXCEPT decisions handed down by the court.

      BRIEFLY STATE YOUR GRIEVANCE: I                                                                  ~'•~=.,"~ ~~-~ ~„ :~~.;~.;.~,~'~"~~`~'~.                                                                                                    have the following grievance
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         Case 2:17-cv-07121-CAS-AS Document 1 Filed 09/27/17 Page 11 of 34 Page ID #:11




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                   VENTURA COUNTY SHERIFF'S OFFICE
                         INMATE REQUEST FOR
                       INFORIVTATION OR SERVICE ~'~`~~~'                                                                                                           ~,~. t. . '~. ,
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    NAME \'                     ..L `i ~                     ;'t~               BKG # ~~°S GL ~F —
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    LOCATOR: QUAD                                •~~'                               CELL      7

      MAIN JAIL                 x            ~ TODD ROAD                                 EAST VALLEY

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     Chaplain                                                                 ~ Parole                                                                                                                                                         ~~~
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   ~ Commissary                                                               ~ f?ublic Qefender                                                                   1~1~L1ATE REQUEST FOR     ,-v-
     Inmate Services        ~                                                 0 Other                                                                           f,~~flRi~,1~T10~! O~ SERVICE

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                        Q Central Inmate Records(CtR)                                          ~            Probation Department
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         Case 2:17-cv-07121-CAS-AS Document 1 Filed 09/27/17 Page 18 of 34 Page ID #:18
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a         y




                                         Ventura. County Medical Center
                                       3291 Loma Vista.,Ventura, CA.93003
                                                (SOS)6 - 52- 6000
                                          Discharge Instructions(Patient)


      Name: HURRAY,JOHNNY                          Current Date: 5/1/2417 18:21:27
      America/Los Angeles
      DOB: 5/14/1968 12:00 AM                  MRN:0000884034            FIN: 2Q04157209
      Reason Far Visit: Fall;.Seizure; seizure
      Discharge Diagnosis: Grand mal seizure

      Visit Date: 5/Ol/2U17 9:49 AM America/Los Angeles
      Address: 20 S LINDEN DR VENTURA CA 930041233
      Phone:(805)509-3337

     Primary Care Provider:
      Name: Chan,Tiffany C
      Pfione:(SOS)641-5600

     Emergency Department Providers:                               J
     Primary provider:
     Binkowski, Allison M     ~                   ~                            d

     Primary Nurse:
     Erin


    Ventura.County Medical Center would like to thank you far allowing us to assist you with your
    healthcaze needs. The following includes patient education materials and information.regarding your
    injury/illness.

    Comment•

    HURRAY,JOHNNY has been given the following list offollow-up instructions, prescriptions, and
    patient education materials:
    Follow-up Ins#ructions:


    WitF~:                             Address:                        When:

    Return to the ER immediately'tf
    you have new or worsening
    symptoms "including, headache,
    vomiting, lightheadedness or
    dizziness, or recurrent seizures


    iVame: HURRAY, JOHNNY                             - '1 of 11                              05/1/Za1 T f8:21:28
    MRN: X000884034
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        With:                           Address:     ~              Wften:
~•
        DILANTIN DOSE SHOULD BE
        INCREASED TO A TOTAL OF
        330mg BEFORE BED EMERY
        DAY. REPEATDfiANTIN LEVE[S
        IN 4 WEEKS..




       Patient Education Materials:
       HEAD INJiJRY w/ Wake-Up'(Adult); SErZURE,.Recurrent[Adult]

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      You have a head injury.- It does nbt appear serious at this time. But symptoms of a more
     serious problem, such as mild brain inJury (concussion), or bruising or bleeding in the brain,
     may appear later. For this reason, you and someone caring for you will need to watch for
     the symptoms listed below. Once at home, also be sure to follow any care instructions
     you're given. ~                                     .

     Home care
     Watch for the following symptoms
     Someone.must stay with you for the next Z4 hours(or longer,.if directed), If you fal! asleep,
     this person should wake you up every 2-hours to check your symptoms. This is called sleep
     monitoring. Symptoms to watch for include:
       • Headache
       • Nausea or vomiting

     Name: MURRAY, JOHNNY                                2 of i i                       05/1/201718:21:28
     MRN:0000884Q34
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         Case 2:17-cv-07121-CAS-AS Document 1 Filed 09/27/17 Page 20 of 34 Page ID #:20
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           • Dizziness
           • Sensitivity to sight or noise
           • Unusual sleepiness or grogginess
           • Trouble falling asleep
           • Personality changes
          • Vision changes
          • Memory foss
          • Confusion
          • Trouble walking or clumsiness
          • Loss of consciousness(even for a short time)
          • Inabili~~r~fo be awakened
          • StifF neck
          • Weakness or numbness in any part of the body
         • Seizures
      If you develop any of these symptoms,seek emergency medical medical care
      right away. If none of these symptoms are noted during the first 24 hours, keep watching
      for symptoms for the nexf day or so. Ask your provider if someone should stay with you
      during this time.

      General care
        • If you were prescribed medicines for pain, use them as directed. Note: Dank use other
          pain medicines~without checking with your provider first.
        • To help reduce swelimg and pain., apply a cold source to the injured area for up to 20
          minutes at a time. Do this as often-as directed. Use a cold pack or bag of ice wrapped                       r
          in a thin towel. Never apply a cold source directly to the skin.                  ~.
        • If you have..cuts or scrapes as a result of.your injury, care for them as directed:
         • For the next 24 hours (or longer, if instructed):
             • Don't drink alcohol or use sedatives or other medicines that make you sleepy.
                    • Don't drive or operate machinery.
                    • Don't do anything strenuous, such as heavy lifting or strair~ing.
                    • Limit tasks that require concentration. This includes reading, using a smartphone
                      or computer,watching N,and playing video games.
                    • Don't return to sports orother activity that could result in another head injury.



      Name: MURRAY,JOHNNY                             ~~ ~   3ofi1                           05/i/ZQ17.18:21:28
      MRN:~ 0000884034
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         Foilow-up care
        Follow up witfi your healtt►care provider, or as directed. If imaging tests were done, they will
        be reviewed by a docfor. You will be told the results and any new findings that may affect
        your care.

        When to seek medical advice
        Call your healthcare provider right away~if any of these occur:
              • Pain doesn't get better or worsens
              • New or increased swelling or bruising
              • Fever of 100.4°F (38°C) or higher, or as directed by your provider
              • Redness, warmth, bleeding, or drainage from the injured area
              • AnS~ depression, ar bony abnormality i~ the injured a.ea                             .
              • Fluid draiFlage or bleeding from tie nose ar ears

       OO 2000-201.6 TLie SlayWelf Company, LLC. 780 Township Line Road, Yardley, PA 19067. All rights reserved. Tfiis infnrtnation is not
       irrtended"as a ~bstitute for professional medical care. Alwags follow your healthpre professionaPs Instructions.

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     You have had another seizure today. A common cause of seizures that keep happening
     (recurrent seizures) is missing doses of seizure medicine. But sometimes seizures are
     difficult to control even when you take the medicine correctly. If this is the case-for you,
     your health care provider may need to increase your dosage. Or you may need to add or
     change to anotf►er medicine.                ~                                 ~              .

     Home care
     ~Fo(low. these tips:when caring for yourself at home. For this seizure:
        • Seizures"aren't~~predicta~le. Sn avoid doinganything that might cause danger to you or
     Name: MURRAY, JOHNNY                                                  : 4.of.11                                      05/1/2017 1821:28
     MRN: 0000884034
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             other people if you have another seizure. Until the seizures are under good control,
             take these precautions:
                • Don't drive, ride a motorcycle, or ride a bicycle.
                • Don`f operate dangerous equipment such as power tools
                • Take showers instead of baths.
               • Dons swim or climb ladders, trees, or roofs.
         • Tell your close friends and relatives about your seizure. Teach them what to do for you
           if it happens again.                          -
         • If medicine was prescribed to prevent seizures, take it exactly as directed. If does not
           work when taken "as needed." Missing doses will increase the risk of having anotfier
           seizure.
         • If you miss a dose, tike the rrxissed dQs~ ~~soon as you-rAmember..If it is almost time
           for your next dose, skip the missed dose. Restart the medicine at your next scheduled
           time. Dons take extra medicine t~ ma[ce uP the missed dose.
        • Wear a "Medic-Alert" bracelet to let emergency personnel know about your condition.
     For future seizures, if you are alone:
     If you~feel a seizure coming on,!ie down on a bed or on the floor with something sofr under
     your head. Lie an your.side, not on your back. This will keep you from falling. It wif! also let
     fluid drain out of your mouth and prevent choking. Be sure you are clear of any ab}ects that
     might injure you during the seizure. Call for Delp if there is time.
     For future seizures, if someone is with you:
    The person~shou(d help you get into a safe position and coil for help. The person shouldn't
    try to force anything in your mouth once the seizure begins. This could harm your teeth or
    jaw:

    Follow-up care
    follow up with your health care provider. Keep a seizure calendar to record how often you
    fiave a seizure. ~f you are being started on anti-seizure .medicine, make sure that ya,u use
    additional pregnancy protection. Seizure medicine ca_n affect how- well birth control pills
    work; and you could become.pregnant. Avoid alcohol until your doctor tells you it's OK.
    Note.: For the safety of yourself and others on the road, certain states require that the
    treating doctor tell -the Public Health department about.any adult who is treated for a
    seizure and is at :ask of more seizures. In this case; the Deparfinen~ of Motor Vefiicles will
    be told. Arestriction- will be put on your driver's license until a doctor gives you medical
    clearance to drive again. Contact your treating doctor to find out if your state requires the
    reporting of patients- with a seizures condition.

    When to seek medical advice
    Call your health care~provider rigf~t away if any of these occur:

    Name: MIiRRAY, JOHNNY                            : 5 o~F 11                       05/1/2017 18:21:28
    MRN:000a88da34"       ~ ~                                                                  ~         .

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                • Seizures happen more often or last longer than usual
                • A seizure lasts over 5 minutes
                • You don't wake up between seizures
     e          •Confusion that lasts more than 30 minutes after a seizure
                .• Injury during a seizure
                • Fever over 100.4~F (38.O~C)
                • Unusual irritability, drowsiness, or confusion
                • Stif# or panful neck
              •.Headache that gets worse

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          intended as a substitute for professional mescal care. Alwaysfnifow your healthcare professional's instructions.

          Final Active Medications List:
            Other Medications

                acetaminophen-HYDROcodone(Norco 10 mg-325 mg oral tablet)1 Tab Oral 3 times a day as need
                pain.                 .

              galiapentin (gabapentin 300 mg oral capsule) 1 Capsule Oral 2 times a day. Refills: 1.

              Misc Prescription (Nicotine Z2mg transdermal patches) Use as directed. Refills: 0.

              phenytoin (Dilantin 3d mg oral capsule,extended re~ease)1 Capsule Oral once a day(at bedtime).
              Refitls:0.




~-       Allergy Info: Vicodin; penicillin
         Medication Information:
         Ventura County Medical Center ED Physicians provided you with a complete list of medications post
         discharge,if you Rave been instructed to •step taking a me8ic;ation piea:~e ensure yon ~atso ~o~low up
         with this information to your Primary Care Physician. Unless otherwise noted, patient will continue to
         take medications as prescribed prior to the Emergency Room visit. Any specific questions regarding
         your chronic medications and dosages should be discussed with your physicians) and pharmacist.
          New Medications

           Other Medications

            phenytoin (Dilantin 30 mg oral capsule, extended release)1 CapsuJe~Oral once a day(at bedtime).
            Refi(Is• 0.
            Last Dose:

         Medications that have not changed
                                                                          ..   ~                                                               .
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         Name: MURRAY,JQHNNY                                     ~         '6 of 11    ~                                05/1/2017 18;21:28
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                 Other Medications

                    acetaminophen-HYDROcodone (Norco 10 mg-325 mg oral tablet) 1Tab Oral 3 times a day as needed for
                    pain.
                    Last Dose:

                    gabapentm (gabapentin 30Q~mg oral capsule) 1Capsule Oral 2 times a day. Refills: 1.
                    Last Dose.:

                    Misc Prescription (fVicatine 21mg transdermat patches) Use as directed.. Reflfls: Q.
                    Last Dose:




             Major Tests and Procedures:
             The following procedures and tests were performed during• your ED visit


            Laboratory Orders
            Name           Status                Details

                                             Blood, Sfat, ST - Stat, Collected, 0'f -May-201710.43:00 PDT, Once.
            Auto Diff               Completed01-May-2017 10.43:00 PDT, Nurse collect, 01-May-2017 10:43:~C~
                                             RDT, 15799655.000OOQ

                                              B'ood Scat, ST - Stat, Collected, 01-May-2017 10:43:00 PDT, Once,
            CBGD                    Completed 01=May-2097 10:43:OQ PDT, Nurse collect; ~~int label Y/N
e
                                             Blood Stat, ST - Stat, Collected, 01-May-2017 10:43:00 PDT, Once,
            CMP                    Com leted 01-May-2017 10:43:00 PDT, Nurse collect, Print label Y/N
                                      p
                                                 Urine, Stat, ST -Slat, Collected; 01-May-20-17 1x:43:00 PDT, Once,
           DAS                    .Completed
                                                 01-May-2017 10:43:00 PDT, Nurse collect, Prin# label Y/N
                                                Blood, Stat, ST - S#at, Collected, 01:-May-2017 10:43:00 PDT, Once;
           Ethanol                 Completed
                                                0'I-May-2Q17. 10:4~:0~ PDT, Nurse collect, Print label Y/N
                                                                                  10:43:Q0 PDT, Once,
           Lipase                  Campleted.Bf ood, Sfat, ST - Stat, 01-May-2017
                                             01-May-2017 1Q:44:00 PDT, Nurse collect, Print label Y/N

                                                Blood Stat, ST - Stat, 01-May-201710;43:00 PDT, Once,
           MG                      Completed
                                                01-May-2017 10:44:00 PDT, Nurse collect, Print label Y!N
                                      p~      Blood, Stat, ST - Stat, 01-May-201710:43:00 PDT, Once,
           PHOS                   .Cam _leted 01-May-2017 10°44:00 PDT, Nurse collect, Print label YfN

                                                Blood, Stat, ST - Stat, 01-May-2017 1Q 43:OQ PDT, Q1-May2017
           PTN                    Completed
                                                fi0:44:0a PDT, Nurse collect, PRnt label YIN


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           'Name: HURRAY, JOHNNY                           ~           7 of 11
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   UADip w/ref to                      Urine, Clean Catch, Stat, ST - Stat, Collected, 01-May-2017 10:43:00
                           Completed
   M/C                                 PQT, Once, 01-May-2017 10:43:00 PDT, Nurse collect, Print label YfN



   Radiology Orders
   Name           Status               Details

  CT CHEST               01-May-2Q17 1~:43:00.PDT, Stat, 01-May-2017 10:43:00 PDT,
  ABDOMEN      completed Reason: Trauma, Transport Mode: Gurney, Standard Precautions,
  PELVIS ANG10        ~ Q.60 mg/dL, No, Rad Type,0
  TRAUMA
                          01-May-2017 10:43:00 PDT, Stat,~01-May-201.7 10:43:OQ PDT,
  CT CSPINE W/O Completed Reason: Trauma., Transport Mode: Gurney, Standard Precautions,
  N CONTRAST              Q.60 m~/d!,(Vo, Rad Type

                   ~    Q'~-May-201710:43:00 PDT, Sfat, 01-May-2Q17 10:43:00 PDT,
  CT HEAD W/O Completed Reason:Trauma, Transport Mode: Gurney, Standard Precautions,
 !V CaNTRAST            0.60 mg/dL, No, Rad Type

                  ~       0'(-May-2017 10:43:00 PDT, Stat, Q1-May-2017 10:43:00 PDT,
  CT LSPINE W/O Completed Reason; Trauma, Transport Mode: Gurney, Standard Precautions,
  N GO~VTRAST             Q.60 mg/dL,.No, Rad Type
                         01-May-2Q17 10:43:00 PDT, Staf, Q1=May-2017 10:43:00 PDT,
  CTTSPINE Wf0 Completed Reason: Trauma, Transpor# Mode: Gurney, Standard Precautions,
  I!1 CONTRAST          0.60 mg/dL, No, Rad Type

 EKG                             01-May-2017 15:20:00 PDT, Stat, 01-May-2017 15:2Q:OQ PDT,
(ER/INPATIENT/ Ordered           Reason;'Other(please specify}; Bradycardia, Standard Precautions,
 URGENT                          No, Rad Type                                                   ~,~E~~
 AMBULATORI'~                                                                                        ~--
 MRI Lt1M-BAR                    0'I-NFay-2017 15:11:00 PDT, tat, 01-May.-2017 1~5:11:Q0 PDT,      ~rv-''''~~
 W/O                   Completed Reason: Other(Rl~ase specify), possible T12fracture on CT, 0.64 ~
 CONTRAST".                      mg/dL; Na, No; No, Patient HasIV, Rad Type, No, No, No ~        ~ ~~ ``V V

 RAd FEMUR                       Yes;01-May-2017 1Q:43:00 PDT, Stat, 01-May-2017 10:43:00 PDT,
 ROUTINE 2             Completed Reason: Other(please specify), Reason: Trauma, Transport Mode:
 VWS RIGHT                       Gurney, Standard Precautions, No



Cardiology Orders
No cardiology orders were placed.

Patient Care Orders
No patient care orders were Rfaced.

•Nai'rte:'MURRAY, JOHNNY                         ~   ~   : 8 of 11 ~                  05l1/2017'i8:21:28
 MRN:0000884034
                                                                           Confidential Saved 2017-OS-21T14:34:03Z
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Name: MURRAY,JOHNNY                  '~ ~   ~   ~9of11                    05N/2017 18:21:28
MRN:0000884034
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        a      ~
                                             -- ~-    - ..                                  ..                             --    r'•        •
                                                                                                                                .t


       I,MLJRRAY,JOHNNY,has been given the following list o€patient education materials,
       prescriptions, and follow up instr~ctiQns and has verbalized understanding:
       HEAD INJURY w/ Wake-Up(Adult); SEIZURE,Recurrent tAdult]
      [phenytoin (Dilantin 3Q mg oral capsule, extended release)]



       With:                             Address: ~                                When:                                               ~.

      Return to the ER immediately if
      you have new or worsening                          ~ ~                   ~                                                                I
      symptoms including headache,
      vomiting, lightheadedness or
      dizziness, o~ recurrent seizures                                                                        `




      With:.                         Address:                                      When:

      D1LAI~TIN DOSE SHO[JLD BE
      INCREASED TO A TOTAL OF
      330mg BFFQRE BED EVERY
                                                                                                                                            i
2     DAY. REPEAT DI[ANTtN LEVELS
      IN 4 WEEKS.                                                                                   ~                                       ~




     Patient Signature               5/1201718:21:27                      Provider Signature                   5/1/2017
     18:21:27




     Name: MURRAY;JOHNNY                                       10 of 71    ~                            05/7/201 18`2T26
    'MRN:0000864034
                                                                                           Confidential Saved 2017-08-21T1434:03Z
 WIEDICATION ADS 1'•USTRA710N RECORD
                                                                                                                                                                                                          .~
 NAME OF RNlLVN/~,                 INITIAL       NAME OF RNlLVN/PT                INITIAL   ~NE OF RN/LVN/PT
                                                                                                                                        INITIgL       NAME OF RN/LVNlPT
                                                                                                                                                                                                INITIAL




 P HE
                                                                                                                Fill Date: 6I21/2D77
               OIN SODIUM EXTENDED 1.00 MG CAPSULE (phenytoin sod ext 100 mg cap)
                                                                                                                                        Orig Fill Date: 6121/2077   Rx#: 966978644
 TAK~~APSUI.ES BY MOUTH AT.BEDTIME ""DOTi`                                                                      Days Suppty:30          Expice Date: 712712017      Doctor: J. SAUTER•NP


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   KO KNOWN DRl1G ALLERGIES
                                                                                                                                                                                                    N




        Name: HURRAY, JOHN                   Y   . . F ~ ~^~~y   ..   Bu~idln9:    WSP-B Yard 3   '~ . ~ .~ .          ~ ~~   ~~_      'Housing          ...    -         .Additional Pages In Use `~.
        DOB:     5!14!1968
                                                                                                                                                                                                               Case 2:17-cv-07121-CAS-AS Document 1 Filed 09/27/17 Page 28 of 34 Page ID #:28




                                                                      CDCR #       BD4172                            ~~ ~ B 003 1122001~P                                     Yes          No
        sn~r~m~ 5•~e~ae aM
                              ~.
                                                                                                                                                         Confidential Saved 2017-0'8-21T1~~:34:03Z
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Case 2:17-cv-07121-CAS-AS Document 1 Filed 09/27/17 Page 30 of 34 Page ID #:30
  Facesheet - 7410, bd4172 MIJRKAY 201'7-07-07T08-07=58               Page 1 of 1.



      S7ATE OF CALIFORNIA                                                                 DEPARTMENT OF CORRECTIONS AND REHA9ILITATION
      COMPREHENSIVE ACCOMNIODATTON CHRONO                             ~                    -          ~              ~    Page 1 of 1
      CDCR 7410(10/13)

                A.HOUSING
       ~ Unrestricted
       ~ Barrier Free/VVheelchair Access
      ~ Ground floor- Limited Stairs'                                 ~ Permanent
      ~ Ground Floor-(Vo Stairs                                       d Temporary

            Bottom Bunk                                             ~ 0 Expires on



                  B.OTHER

      ~ InmateAttendantlAssistance
      ~ Full Time Wheelchair User Accommodations
     ~ Limited Wheelchair User Accommodations
     Q Transport Vehicle with Lift
     Q Restraint Alert for NorT-Emergent Escort or Transportation                                     ~,
     0 Extra Time for Meals
            C. PHYSICAL LIMITATIONS TO JOB ASSIGNMENTS
     ~ W Exposure Restriction -Restricting direct unprofected sunlight exposure for more than 30 minutes between the hours
         of tiooa~sao
    ~ Lifting Restriction -Unable to lift more than 19 pounds
    0. No rooftop vuork, no ladders, no hazardous machinery:no sharp objects, end no opecafing a motorized vehicles


              ❑ D. NON FORMULARY ACCOMMODATIONS)

                 E.COMMENTS
             ... _ ~   ,.__._ .._~..__            .,~....~ti                   .,,_.._.._.,.~____,




    0 See 7536 Durable Medigi Equipment and Supply Receipt


    Clinician Name:         Sauter,.Jeanette@CDCR                   CDCR#:            bd4172                                        ~
    Clinician Signature:    Digitally Authenticated .               Last Name: ~      MURRAY
    CME Name:
                                              ~                 First Name:           JOHNNY                        M~=    C
    CME Signature.
   (Non-Formulary Only)
                                                                DOB:                  5/14/1968
    ❑ate:                   7/7/2017                                Institution: .~   WSP
                                                                Housing:              B 003 1122001 L


   Thfs form has been approved electronically by Sauter, Jeanette@CDCR on 2017-07-07 08:10:41.




http://cchcsnetJeForms/ layouts/Print.FormServer.aspx ~                                        ConfideRtiai Saved 2o~7-og-~X~/1   '~3Z
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                  Case 2:17-cv-07121-CAS-AS Document 1 Filed 09/27/17 Page 32 of 34 Page ID #:32
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                                                                            CMG
                                                            California Forensic Medical Group
                                                              N       C    O      R   P T O   R    A      E   0                          l~~

         FACiUTY~                       ,f.~?;CAL ~p~~s                                   DATE FORM COMPLETED.                 ~ ~ ~O

                                        South ToC~ Road ~                              ~ NEEDS IMMEDIATE ATTENTION
                                    89i1~                         —                   /`
                                                                                       ❑ NO MED)CAL TREATMENT GfVEN PR10R TO TRANSFER


                             INMATE(NAME:                     ~ ~~~~ \ U I - 11'~~~
                                                     ~ t'~ GI f

                             AKA:                                                                            DOB: •~ '~ ~ 7
                                                                                                                          ' ~n               .

                             ALLERGIES:


                         MEDICAL/MENTAL HEALTH PROBLEMS:



                          EDICATIONS:               DOSE               ROUTE              FREQUENCY               START DATE         -~STOR DATE
                  ~ ~ r iun-~~~                  ~{Pe J                   l ~v-            e~~ ~              ~-2-~                    .30'1       .



                     TREATMEIJfS:




                     PREGNANT:
                                                                  Tg           SK1iVTEST: NEG            POS        DATE        V1`Et~ ~P ~'~ 1-G e ~~
                         _ ~~ YES ~~ NO     ❑ UNKNOWN
                           i     f                             CHEST X-RAY:                       NEG    POS ~      QATE

                     OTHER tAB DATA:                           TESTS:                                                    TREATED DATE

                                                               RPR:                   NEG              POS               YES NO
                                                               VDRL:                  NEG              POS               YES    D—

                     PENDiNG APPOINTMENTS:                    GC:                     NEG              POS               YES NO
                     `                                         OTHER:        ~                                           YES NO
                                                              (MMUN(ZATiONS IVEN:                                                 DATE


                     ATTACHMENTS: ❑YES ~] NO
                                      E—~

                     COMPETED BY:                      ~Y I "K~J~                                                              SIGNATURE /TITLE



                     TRANSPORT INSTRUCTIONS_                /~] UNIVERSAL BODY SUBSTANCE PRECAUTIONS
                                                            l\



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